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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                            CRIMINAL ACTION
 VERSUS                                                               NO: 09-123
 CHARLES MOSS                                                        SECTION: "S" (3)


                                     ORDER AND REASONS

        Before the court is a motion filed by Charles Moss titled "Petitioner's 'Actual Innocence'

Claim, and Motion for Declaratory Judgment, Pursuant to Article III, §2, Clause 1, and §21,

Collateral Legal Consequences of Sentence (B. Criminal Matters) within the Concept of a 'Case' or

'Actual Controversy' and the Federal Declartory Judgment Act 28 USCS § 2201" (Doc. #478). After

reviewing the motion, the court has determined that it is more properly characterized as a petition

for habeas corpus under 28 U.S.C. §2255.

        Pursuant to Castro v. United States, 124 S.Ct. 786, 792 (2003), when a district court

determines that a motion by a prisoner not labeled as a motion under §2255 should be treated as

such, "the district court must notify the pro se litigant that it intends to recharacterize the pleading,

warn the litigant that this recharacterization means that any subsequent §2255 motion will be subject

to restrictions on 'second or successive' motions, and provide the litigant with an opportunity to

withdraw the motion or to amend it so that it contains all of the §2255 claims he believes he has."

        IT IS HEREBY ORDERED that Charles Moss' pending motion (Doc. #478) will be

construed as a motion under §2255, and he is granted leave to amend or withdraw his pending

motion within 30 days of the date of this order. If he does not act, the court will proceed with the

motion and analyze it under §2255.
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       IT IS FURTHER ORDERED that the Clerk of Court provide Charles Moss with the §2255

form along with a copy of this order.




       New Orleans, Louisiana, this17th
                                    _____ day of July, 2014.



                          ____________________________________
                               MARY ANN VIAL LEMMON
                           UNITED STATES DISTRICT JUDGE




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